






NO. 07-01-0256-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



APRIL 17, 2002


______________________________



MASON BRISTOL and JBW LAND and MINERALS, INC.,




			Appellants


v.



PLACID OIL COMPANY,





								
		Appellee

_________________________________



FROM THE 121st JUDICIAL DISTRICT FOR YOAKUM COUNTY;



NO. 6886; HON. KELLY G. MOORE, PRESIDING


_______________________________



MEMORANDUM OPINION


_______________________________



Before BOYD, C.J., QUINN and JOHNSON, J.J.

	Mason Bristol and JBW Land and Minerals, Inc. (Bristol) appeal from a final
judgment entered in favor of Placid Oil Company (Placid).  Their three points of error
concern venue.  That is, Bristol contends that error occurred when venue was transferred
from Tarrant to Yoakum County, Texas.  So too do they assert that any venue dispute was
waived because Placid 1) did not timely secure a hearing on its motion to transfer and 2)
invoked the judicial power of the Tarrant County court before the motion was granted.  We
affirm.

Issue One - Propriety of Order Transferring Venue


	Initially, Bristol contends that the cause should not have been transferred from
Tarrant County.  He believes this is so because the mandatory venue provision described
at §15.011 of the Texas Civil Practice and Remedies Code was inapplicable. (1) 
Furthermore, it allegedly was inapplicable because he had only sought, via the suit,
monetary damages as opposed to an interest in land.  We disagree.

	Standard of Review

	"In determining whether venue was or was not proper, the appellate court shall
consider the entire record, including the trial on the merits."  Tex. Civ. Prac. &amp; Rem. Code
Ann. §15.064(b).  This statutory provision allows us to review the decision on a record
different than that before the district court at the time it ruled upon the issue.  Ruiz v.
Conoco, Inc., 868 S.W.2d 752, 757 (Tex. 1993); Bleeker v. Villarreal, 941 S.W.2d 163, 167
(Tex. App.-Corpus Christi 1996, pet. dism'd by agr.).  That is, we must independently
review the "entire record to determine whether venue was proper in the ultimate county of
suit."  Ruiz v. Conoco, Inc., 868 S.W.2d at 757-58.  So, if in reviewing the entire record we
find any probative evidence illustrating that venue was proper in the county wherein
judgment was entered, we must affirm the decision to transfer venue to that county.  Id.  
Or, as stated by the Corpus Christi Court of Appeals, "our review considers only whether
the venue ruling was ultimately vindicated by the fully developed record."  Bleeker v.
Villarreal, 941 S.W.2d at 167.  

	Application of Standard

	First, as mentioned in footnote one, suits to recover realty or an interest in realty
must be filed in the county where all or part of the property is located.  Tex. Civ. Prac. &amp;
Rem. Code Ann. §15.011 (Vernon 1986).  Second, through his live pleading at the time of
trial, Bristol sought, among other things, the imposition of a constructive trust "on the
revenue received from the [oil] well in question and the lease . . . ."  (Emphasis added). 
Third, a constructive trust is a relationship with respect to property subjecting one who
holds legal title to property "to convey it to another . . . ."  Talley v. Howsley, 176 S.W.2d
158, 160 (Tex. 1943).  Fourth, given the foregoing definition of a constructive trust, Bristol
effectively demanded the conveyance of both the mineral leasehold at issue and revenue
produced therefrom to himself.  Fifth, it is indisputable that an oil and gas lease constitutes
an interest in land or realty.  Jupiter Oil Co. v. Snow, 819 S.W.2d 466, 468 (Tex. 1991). 
Sixth, since a mineral lease constitutes an interest in land, logic dictates that Bristol's
demand for a constructive trust upon the lease was tantamount to an attempt to recover
an interest in realty.  Seventh, since actions to recover an interest in realty must be filed
in the county wherein the land is located and the land at bar was located in Yoakum
County, then mandatory venue was in Yoakum County, the county where judgment was
rendered. (2)         

	In short, that the legislature intended to have disputes involving the ownership of
land resolved in the county or counties wherein the land lay is clear.  Upon considering the
entire record before us, we conclude that the legislature's intent was fulfilled at bar.  The
dispute regarding the interest in realty was resolved by the district court for the county
wherein the land was located.  Thus, we cannot say that venue was improper.      

Issue Two and Three -Waiver of Right to Transfer


	Delay

	Bristol contends that Placid waived its venue complaint because it "did not secure"
a timely hearing on its motion to transfer.  In support thereof, he cited authority imposing
upon the movant an obligation to request a hearing within a reasonable time, Whitworth
v. Kuhn, 734 S.W.2d 108, 111 (Tex. App.-Austin 1987, no writ), and to pursue such a
hearing.  Grozier  v. L-B Sprinkler &amp; Plumbing Repair, 744 S.W.2d 306, 311 (Tex. App-Fort
Worth 1988, writ denied).  Yet, as proof that the duties were breached, Bristol merely cites
to the amount of time which lapsed between the date on which Placid filed its motion and
the date on which the trial court eventually ruled on it; that period approximated 32 months. 
Unmentioned by Bristol is the date on which Placid requested the hearing or the steps, if
any, taken by the company to secure one.  Yet, our review of the file disclosed that Placid
prayed that the matter "be set for hearing" in the closing paragraph of its motion and in its
first amended answer filed on October 30, 1997.  So, to the extent that a movant "has the
duty to request a setting," Tex. R. Civ. P. 87(1), it appears that Placid sought one at least
twice. Given this circumstance, the record does not support Bristol's assertion in this
respect.  

	Nor does the record afford us evidence upon which to conclude that Placid
somehow acted less than diligently in pursuing the matter once a hearing was sought.   Nor
can one reasonably attribute non-feasance to the company simply because 32 months
lapsed before the trial court ruled on the motion.  A myriad of things could have caused
that delay.  It is quite possible that Placid did nothing.  Equally possible is that Placid
diligently pursued resolution of its motion but that the trial court's docket did not permit
determination of the request.  Or, it could be that the trial court awaited Bristol's response
to the motion, which response was not filed until five weeks before the matter was formally
submitted to the court.   In any case, the burden lay with Bristol to present us with an
appellate record supporting his contention that Placid was less than diligent,  In re Spiegel,
6 S.W.3d 643, 646 (Tex. App.-Amarillo 1999, no pet.), and it did not.  Thus, to impute non-feasance to the oil company would be to act upon mere speculation, something we cannot
do.  

	Furthermore, it may be that delay in obtaining a hearing provides grounds for the
trial court to deny a motion to transfer.  Yet, such a delay does not mean that the trial court
must deny it.  It remains within its discretion to nevertheless entertain the motion on the
merits if it so chooses.  Kerrville State Hosp. v. Clark, 900 S.W.2d 425, 430 n.2 (Tex.
App.-Austin 1995), rev'd on other grounds, 923 S.W.2d 582 (Tex. 1995).  Here, the court
chose to entertain it, and, we cannot hold that it abused its discretion in doing so.  This is
especially so given that Bristol nowhere asserts that the delay impaired his ability to defeat
the motion.

	Invocation of Trial Court's Jurisdiction

	Lastly, Bristol asserts that the trial court was obligated to deny the motion because
Placid invoked "the judicial power of the Tarrant County Court in a manner inconsistent
with a continuing intention to transfer venue."  The manner in which it allegedly invoked
that power was through filing a motion for summary judgment.  Yet, Placid expressly made
its request for summary judgment subject to its motion to transfer venue.  Under that
circumstance, seeking relief from the court did not result in waiver of the pending motion
to change venue.  General Motors Corp. v. Castaneda, 980 S.W.2d 777, 783 (Tex. App.--San Antonio 1998, pet. denied) (holding that GM did not waive its motion to transfer
because it stated in its later motions that same were subject to its venue motion).   

	Next, the authorities cited by Bristol as support for his contention are inapposite. 
For instance, the court in Kohut v. Mrs. Baird's Bakeries, Inc., 478 S.W.2d 139 (Tex. Civ.
App.--Houston [14th Dist.] 1972, no writ) was faced with a situation where Baird's pursued
summary judgment after its motion to transfer venue had been sustained.  That did not
occur here.  Nor was the case at bar actually tried on the merits before the venue issue
was heard; that is what distinguishes Gentry v. Tucker, 891 S.W.2d 766 (Tex. App.--Texarkana 1995, no writ) from the dispute before us.  Finally, Dossey v. Oehler, 359
S.W.2d 624 (Tex. Civ. App.--Eastland 1962, writ dism'd w.o.j.) is readily distinguishable
since the plea of privilege filed there was made subject to a plea in abatement.  That is, the
defendant in Dossey first moved to abate the proceeding and then to transfer venue,
stating that the latter was subject to the former.  In doing so, it ignored the concept of due
order of pleadings.  Nothing like that happened here.

	Accordingly, we overrule the three issues asserted by Bristol and affirm the
judgment entered below.


									Brian Quinn

									    Justice



Publish.
1. The version of §15.011 in existence at the time suit was filed stated that:


	[a]ctions for recovery of real property or an estate or interest in real property, for partition
of real property, to remove encumbrances from the title to real property, or to quiet title to
real property shall be brought in the county in which all or a part of the property is located.  


Tex. Civ. Prac. &amp; Rem. Code Ann. §15.011 (Vernon 1986).
2. To the extent that Bristol sought a constructive trust via an amended pleading filed after the cause
was transferred from Tarrant to Yoakum County, the amendment would have entitled Placid to again seek
transfer, assuming the Tarrant County district court had initially refused to transfer the proceedings. Gold v.
Insall, 8 S.W.2d 542, 543 (Tex. Civ. App.-Galveston 1928, writ dism'd w.o.j.) (stating that one who has
previously waived an opportunity to transfer venue may regain such opportunity when the plaintiff amends his
pleading to allege a new cause of action implicating a different venue provision).  Thus, irrespective of whether
the demand for the trust had been asserted in Bristol's initial pleading and retained throughout the cause or
first mentioned in his last pleading, venue still lay in Yoakum County, i.e. the county wherein the land was
located.



  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
 









NO. 07-09-00350-CV

&nbsp;

IN THE COURT OF APPEALS

&nbsp;

FOR THE
SEVENTH DISTRICT OF TEXAS

&nbsp;

AT
AMARILLO

&nbsp;

PANEL B

&nbsp;



JULY
16, 2010

&nbsp;



&nbsp;

JACOB NEUFELD, APPELLANT

&nbsp;

v.

&nbsp;

KENNETH HUDNALL, STANLEY BAKER,

JOEL HOVDEN, TEJAS MOTORS AND

LONE STAR AUTO AUCTION, INC., APPELLEES 



&nbsp;



&nbsp;

&nbsp;FROM THE 72ND DISTRICT COURT OF LUBBOCK
COUNTY;

&nbsp;

NO. 2007-541,835; HONORABLE RUBEN GONZALES REYES, JUDGE



&nbsp;



&nbsp;

Before QUINN,
C.J., and CAMPBELL and HANCOCK, JJ.

&nbsp;

&nbsp;

MEMORANDUM OPINION

&nbsp;

Appellant, Jacob Neufeld, appeals a
take-nothing judgment entered by the trial court on Neufelds claim for
personal injuries.&nbsp; We affirm.

Background

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On
September 19, 2007, Neufeld attended an automobile auction on the premises of
Lone Star Auto Auction.&nbsp; Prior to the
beginning of the auction, Neufeld walked through the lot to take a closer look
at the cars that were to be auctioned and to determine which vehicles he would
bid on.&nbsp; As Neufeld was inspecting the
autos, the employees of Lone Star began lining up the cars to be
auctioned.&nbsp; Two vehicles were at the head
of the line when Kenneth Hudnall pulled a third to
the end of the line.&nbsp; As Neufeld was walking
between the first and second cars in the line, the car that Hudnall
was driving lurched forward and hit the second car, which was pushed up to the
first car, trapping Neufeld between the two vehicles and crushing his legs.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Neufeld
filed suit against Lone Star; Hudnall; Stanley Baker
and Joel Hovden, the drivers of the other two
vehicles involved in the accident; and Tejas Motors,
a customer of the auction.&nbsp; In their
answers, the defendants generally denied Neufelds claims, alleged that Neufeld
was negligent, and asserted the inferential rebuttal defenses of intervening
cause, act of God, and unavoidable accident.&nbsp;
During the ensuing bench trial, the trial court granted directed verdict
in favor of Baker and Hovden.&nbsp; Toward the end of the trial, Neufeld amended
his petition to omit any claim against Tejas
Motors.&nbsp; Thus, the trial courts
take-nothing judgment related to Neufelds claims against Hudnall
and Lone Star.&nbsp; Findings of fact and
conclusions of law were requested and the trial court entered findings and
conclusions.&nbsp; Neufeld then timely filed
the present appeal.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; By
one issue, Neufeld challenges the factual sufficiency of the evidence
supporting the judgment.&nbsp; 

Factual Sufficiency

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; By
his sole issue, Neufeld contends that the trial court committed reversible
error in entering judgment finding that the defendants were not negligent
because such judgment is against the great weight and preponderance of the
evidence.&nbsp; Neufelds issue challenges the
factual sufficiency of the judgment as a whole rather than the sufficiency of
the evidence supporting any particular finding of fact made by the trial court.

Standard of Review

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In
a bench trial, findings of fact have the same force and dignity as a jury's
verdict upon jury questions. &nbsp;Dupree
v. Garden City Boxing Club, Inc., 219 S.W.3d 613, 615-16 (Tex.App.--Dallas 2007, no pet.); In re C.R.O., 96
S.W.3d 442, 447 (Tex.App.Amarillo 2002, pet. denied).
&nbsp;However, findings of fact are not
conclusive when we have a complete record.&nbsp;
Leax v. Leax, 305 S.W.3d 22, 28 (Tex.App.Houston [1st Dist.] 2009, pet. denied).&nbsp; When a complete reporters record is filed,
the trial courts factual findings are reviewable for legal and factual sufficiency
under the same standards that are applied in reviewing the sufficiency of the evidence
supporting jury findings. &nbsp;Dupree,
219 S.W.3d at 616; In re C.R.O., 96 S.W.3d at
447.

When an appellant challenges the
factual sufficiency of an adverse finding upon which he had the burden of proof,
he must show that the finding was against the great weight and preponderance of
the evidence. &nbsp;See Dupree, 219 S.W.3d at 616. &nbsp;The
reviewing court must consider and weigh all the evidence and may set aside the
finding only if the evidence is so weak or the finding is so against the great
weight and preponderance of the evidence that it is clearly wrong and
unjust.&nbsp; Id.&nbsp; In conducting this review, we may not
substitute our judgment for that of the finder of fact, even if we would have
reached a different conclusion when reviewing the evidence.&nbsp; Id.

A trial courts conclusions of law
may not be challenged for factual sufficiency,
however, a reviewing court may review the conclusions drawn from the facts to
determine their correctness.&nbsp; See id.
(citing BMC Software Belgium, N.V. v. Marchand, 83 S.W.3d 789, 794 (Tex. 2002)).&nbsp; If a finding that is supported by the
evidence and necessary to support a conclusion is omitted, we may imply the
finding and that it supports the judgment.&nbsp;
See id.

The appellees
contend that Neufeld failed to preserve any error because his factual
sufficiency challenge does not challenge any specific finding of fact made by
the trial court.&nbsp; Generally, while findings
of fact are reviewable for legal and factual sufficiency, an attack on the sufficiency
of the evidence must be directed at specific findings of fact rather than at
the judgment as a whole. &nbsp;In re an Unborn Child, 153 S.W.3d 559, 560 (Tex.App.--Amarillo 2004, pet. denied). &nbsp;If the trial court's findings of fact are not
challenged by an issue on appeal, they are binding upon the appellate court. &nbsp;See Nw. Park
Homeowners Ass'n, Inc. v. Brundrett,
970 S.W.2d 700, 704 (Tex.App.--Amarillo 1998, pet.
denied). &nbsp;However, a challenge to
an unidentified finding of fact may be sufficient for review if we can fairly
determine from the argument the specific finding of fact which is being
challenged. &nbsp;Shaw v. County of Dallas,
251 S.W.3d 165, 169 (Tex.App.Dallas 2008, pet.
denied).

Analysis

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In
the present case, Neufelds issue contends that the judgment as a whole was
against the great weight and preponderance of the evidence.&nbsp; However, a review of Neufelds argument
allows this Court to fairly determine that Neufeld is challenging the factual
sufficiency of the evidence to support the trial courts findings that Hudnall was not negligent on the occasion in question and
did not proximately cause any damage to Neufeld in that Hudnall
experienced an episode which was an intervening cause [which] was unexpected,
unanticipated[,] and unforeseeable; Lone Star was not negligent on the
occasion in question and did not proximately cause any damage to Neufeld;[1]
and No dangerous condition existed on the premises operated by Lone Star, and
Neufeld was not injured as a result of any condition on the premises at the
time the accident in question occurred.[2]

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Neufelds
challenge to the trial courts finding that Hudnall
did not proximately cause Neufelds injuries because of an unexpected,
unanticipated, and unforeseen intervening cause is premised on Neufelds
contention that the expert medical opinion evidence offered to prove the
intervening cause was too speculative to constitute probative evidence.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; An
independent and intervening cause destroys the causal link between a claimed
act of negligence and the resulting damage.&nbsp;
See Tarry Warehouse &amp; Storage Co. v. Duvall, 131 Tex.
466, 115 S.W.2d 401, 405 (1938) (bright lights that blinded driver were
intervening cause that broke the causal chain); Cook v. Caterpillar, Inc.,
849 S.W.2d 434, 440 (Tex.App.Amarillo 1993, writ
denied) (acts of third-party driver destroyed the causal link between product
defect and injury).&nbsp; When a claim of
intervening cause is premised on a medical episode or condition, medical expert
testimony is required.&nbsp; See Ins.
Co. of N. Am. v. Myers, 411 S.W.2d 710, 713 (Tex.
1966).&nbsp; Expert medical opinion evidence
relating to issues of causation must rest in reasonable probabilities;
otherwise, the inference that such actually did occur can be no more than
speculation and conjecture. &nbsp;Id.&nbsp; The determination of whether expert opinion
evidence is based on reasonable probability depends on consideration of the
substance of the evidence and does not turn on semantics or the use of any
particular term or phrase.&nbsp; Id.&nbsp; Expert opinion evidence regarding causation
that is not based on reasonable probability, but is rather based on speculation
and surmise, is no evidence.&nbsp; See Onwuteaka v. Gill,
908 S.W.2d 276, 283 (Tex.App.Houston [1st
Dist.] 1995, no writ).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In
the present case, the expert medical opinion evidence offered by Lone Star
concluded that Hudnall suffered a pre-syncopal episode which led to confusion and loss of control
of his vehicle.&nbsp; The expert, Kevin Funk,
M.D., chronicled a number of different potential causes of this pre-syncopal episode that are consistent with Hudnalls medical history.&nbsp;
While Dr. Funk does indicate that he will assume that Hudnall suffered a pre-syncopal
episode, the context of this statement indicates that it was intended only to
convey Dr. Funks starting hypothesis.&nbsp;
The remainder of the report then identifies a number of different causes
of pre-syncopal episodes that are present in Hudnalls medical history.&nbsp;
It is only after discussion of Hudnalls
medical history and its correspondence to many potential causes of pre-syncopal episodes that Dr. Funk concludes that, in all
reasonable medical probability, Mr. Hudnall suffered
a pre-syncopal episode.&nbsp; While Dr. Funk does not definitively identify
what caused Hudnall to experience this pre-syncopal episode, he does conclude, within a reasonable
degree of medical probability, that Hudnall
experienced a pre-syncopal episode.&nbsp; Having determined that Dr. Funks expert
opinion was based on a reasonable medical probability and, therefore, probative
evidence that supports the trial courts intervening cause finding, we cannot
say that the trial courts determination that this pre-syncopal
episode was an intervening cause of Neufelds injuries was so against the great
weight and preponderance of the evidence as to be clearly wrong or unjust.&nbsp; As such, we find the evidence supporting the
trial courts finding that Hudnall was not negligent
because Hudnalls pre-syncopal
episode was an intervening cause of Neufelds injuries is factually sufficient.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Review
of Neufelds challenge to the factual sufficiency of the evidence supporting
the trial courts finding that Lone Star was not negligent depends on the type
of claim Neufeld asserted against Lone Star.&nbsp;
A liberal construction of Neufelds petition reveals that Neufeld asserted
a claim that Lone Star was liable for its negligent hiring and retention of its
employee, Hudnall.&nbsp;
According to Neufeld, Lone Star was directly negligent because it hired
and retained Hudnall in a position that required that
he operate motor vehicles near the public with knowledge that Hudnall had a history of low blood pressure and
diabetes.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; An
employer who negligently hires an incompetent or unfit individual may be
directly liable to a third party whose injury was proximately caused by the employee's
negligent or intentional act.&nbsp; See Verinakis v. Med.
Profiles, Inc., 987 S.W.2d 90, 97 (Tex.App.--Houston
[14th Dist.] 1998, pet. denied).&nbsp;
A claim of negligent hiring and retention is based on an employer's
direct negligence instead of the employer's vicarious liability for the torts
of its employees.&nbsp; Id.&nbsp; To prevail in a negligence action, the
plaintiff must prove: (1) a legal duty owed to the plaintiff, (2) a breach of
that duty by the defendant, and (3) damages proximately caused by the
breach.&nbsp; Greater
Houston Transp. Co. v. Phillips, 801 S.W.2d 523, 525 (Tex. 1990).&nbsp; Both the duty and proximate cause elements
required to establish a claim of negligent hiring or retention are premised on foreseeability.&nbsp; See Mellon Mortgage Co. v. Holder, 5 S.W.3d 654, 659
(Tex. 1999); CoTemp, Inc. v. Houston West
Corp., 222 S.W.3d 487, 492 (Tex.App.--Houston
[14th Dist.] 2007, no pet.).&nbsp;
Thus, liability under the doctrine of negligent hiring or retention is based
on the employer's negligence in hiring or retaining an incompetent servant whom
the master knows, or by the exercise of reasonable care should have known, was
incompetent or unfit, thereby creating an unreasonable risk of harm to
others.&nbsp; See Houser v. Smith,
968 S.W.2d 542, 546 (Tex.App.--Austin
1998, no pet.).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; There
is no dispute that, at the time of the accident, Hudnall
was acting in the course and scope of his employment with Lone Star.&nbsp; The key factual issue in establishing Lone
Stars liability for negligently hiring and retaining Hudnall
is whether the accident was foreseeable.&nbsp;
The record reflects that, when it hired Hudnall,
Hudnall informed Lone Star that he was on medication
for diabetes and low blood pressure.&nbsp;
From this fact, Neufeld contends that Lone Star should have foreseen
that Hudnall could experience dizziness or loss of
consciousness while operating a motor vehicle in the course and scope of his
employment.[3]&nbsp; However, the General Manager of Lone Star
testified that, at the time of Hudnalls hiring, Hudnall indicated that he did not think that his medical
condition would impact his ability to drive nor endanger customers, and, in the
approximate year and a half that Hudnall worked for
Lone Star, Hudnall had not notified Lone Star of any
health problems or any loss of consciousness or blackouts.&nbsp; In addition, Hudnall
testified that the only time he had experienced fainting spells or weakness was
before he was diagnosed with diabetes and started on medication, and that those
issues would have occurred sometime in 2001 or 2002, which would have been five
to six years before the accident in the present case.&nbsp; Thus, considering all the evidence, we do not
find the evidence to be so weak or the finding that Lone Star was not negligent
in hiring and retaining Hudnall to be so against the
great weight and preponderance of the evidence that it is clearly wrong and
unjust.&nbsp; See Dupree, 219 S.W.3d at 616.&nbsp;
Thus, we conclude that the evidence was sufficient to support the trial
courts finding that Lone Star was not negligent and did not proximately cause
Neufelds injuries.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The
other finding that Neufelds argument fairly challenges is the sufficiency of
the evidence supporting the trial courts determination that Lone Star is not
liable under the theory of premises liability.&nbsp;
Neufeld points to evidence that Lone Star posted no warning signs on its
premises, failed to warn patrons of any unsafe areas, and Hudnalls
testimony that the auction lot was controlled chaos as evidence that Lone
Star was aware of a dangerous condition on the premises of which it failed to
warn business invitees.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; To
succeed in a premises liability suit, an invitee plaintiff must prove that (1)
the defendant had actual or constructive knowledge of some condition on the
premises, (2) the condition posed an unreasonable risk of harm, (3) the
defendant failed to exercise reasonable care to eliminate or reduce the risk of
that harm, and (4) the defendants failure to use such care proximately caused
the invitees injury.&nbsp; Wal-Mart
Stores, Inc. v. Gonzalez, 968 S.W.2d 934, 936 (Tex. 1998).&nbsp; The mere fact that an injury occurred on the
premises is not of itself evidence of negligence because almost any activity
involves some risk of harm.&nbsp; Thoreson
v. Thompson, 431 S.W.2d 341, 344 (Tex. 1968).&nbsp; Additionally, when a risk is open and obvious
and an invitee knows or is charged with knowledge of the risk, the premises
owner owes the invitee no duty to warn of the risk.&nbsp; Summers v. Fort Crockett
Hotel, Ltd., 902 S.W.2d 20, 28 (Tex.App.Houston
[1st Dist.] 1995, writ denied).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In
the present case, it is clear that Lone Star was aware that vehicles were being
moved to the auction floor; however, there is no evidence that it knew or had
reason to know that Hudnall would pass out or
otherwise operate the vehicle in an unsafe manner.&nbsp; Further, while the act of driving an
automobile poses a risk of harm, the evidence does not establish that the risk
of harm was unreasonable.&nbsp; Even though
the manner in which the auction was conducted was described as controlled
chaos, there is no evidence that the manner that the auction was conducted on
September 19, 2007, was any different than for any other Lone Star auction, and
there was no evidence of prior accidents at Lone Star auctions that would give
rise to an inference that the manner in which Lone Star conducted its auctions
was unreasonably dangerous.&nbsp; Because the
evidence does not establish that there was a condition on Lone Stars premises
that posed an unreasonable risk of harm, Lone Star owed no duty to invitees,
such as Neufeld.&nbsp; Further, the inherent
risk posed by operating a motor vehicle near pedestrians was an open and
obvious risk of which Neufeld should have been aware.&nbsp; Thus, in the absence of evidence that Lone
Star had actual or constructive knowledge that Hudnalls
driving a vehicle posed an unreasonable risk of harm to invitees, it owed no
duty to Neufeld that it could have breached.&nbsp;
As discussed above, the great weight and preponderance of the evidence
does not establish that Lone Star possessed such actual or constructive
knowledge.&nbsp; Consequently, we find the
evidence to be factually sufficient to support the trial courts finding that [n]o
dangerous condition existed on the premises operated by Lone Star, and Neufeld
was not injured as a result of any condition on the premises at the time the
accident in question occurred.

Conclusion

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Concluding that the evidence is
factually sufficient to support the trial courts findings of fact that were
fairly challenged by Neufelds appeal, we overrule Neufelds sole issue and
affirm the judgment of the trial court.

&nbsp;

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Mackey
K. Hancock

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Justice











[1] While Neufelds
petition alleged that Hudnall was an employee of Tejas Motors, during trial, Neufeld moved for a trial
amendment of his pleading to allege that Hudnall was
an employee of Lone Star.&nbsp; The defendants
affirmatively stated that they had no objection to the trial amendment and
Neufelds motion was granted by the trial court.&nbsp; Thus, Neufelds claim of negligent hiring or
retention was asserted against Lone Star.

&nbsp;





[2] We note that all of these findings are more fairly
characterized as conclusions of law.&nbsp; The
trial courts only factual findings relevant to either of the challenged
findings are the findings that Hudnall experienced
an episode which was an intervening cause [that] was unexpected, unanticipated[,] and unavoidable, and that [n]o dangerous
condition existed on the premises operated by Lone Star . . . .&nbsp; As to any other factual issues that are
necessary to the trial courts judgment, we will imply those finding that are
supported by the evidence and that support the judgment.&nbsp; See Dupree, 219
S.W.3d at 616.





[3] We note the logical
inconsistency of Neufelds arguments.&nbsp;
Neufeld contends that Hudnall did not
experience a pre-syncopal episode that was an
intervening cause of Neufelds injuries, while also contending that Lone Stars
knowledge of Hudnalls medical history was enough
that Lone Star should have known that Hudnall would
experience dizziness and confusion (a pre-syncopal
episode) or pass out (syncope).







